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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

 PARKERVISION, INC.

                            Plaintiff,

       v.

 QUALCOMM INCORPORATED,                            CASE NO.: 6:14-CV-00687-PGB-
 QUALCOMM ATHEROS, INC.                            LHP

                            Defendants.



                         [PROPOSED] FINAL JUDGMENT

       On March 22, 2022, this Court granted summary judgment of non-infringement

 for the patents remaining in the case and directed the Clerk to “enter judgment in favor

 of Defendant Qualcomm Inc. and against Plaintiff ParkerVision, Inc.” Dkt. 685.

 Judgment was entered on March 23, 2022. Dkt. 687. That judgment was appealed to

 the United States Court of Appeals for the Federal Circuit, but the appeal was

 dismissed for lack of jurisdiction on July 16, 2024, on the ground that, “[b]ecause

 Qualcomm’s counterclaims for invalidity remain unadjudicated, there is no final

 judgment” in this case. Dkt. 696 at 2. The Federal Circuit dismissed the appeal subject

 to reinstatement under the same docket number, and before the same panel, should

 ParkerVision appeal from entry of an appealable judgment in which “the

 counterclaims for invalidity are dismissed.” See ParkerVision, Inc. v. Qualcomm

 Incorporated, No. 22-1755, Dkt. 57 at 2 (Fed. Cir.). The parties now jointly move for
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 entry of final judgment that incorporates this Court’s prior judgment and also expressly

 dismisses Qualcomm’s counterclaims for invalidity without prejudice and subject to

 revival in the event of remand following appeal to the Federal Circuit.

       Accordingly, the Court enters FINAL JUDGMENT as follows:

       1. The Order granting Qualcomm’s Motion for Summary Judgment of Non-

 infringement (Dkt. 685) and the Judgment entered in favor of Qualcomm and against

 ParkerVision pursuant to that Order (Dkt. 687) are incorporated and stand unchanged.

       2. Qualcomm’s counterclaims for invalidity are dismissed without prejudice

 and subject to revival in the event of remand from the Federal Circuit.

       3. Any remaining claims, counterclaims, defenses, or other matters asserted—

 not otherwise covered by the Order and Judgment at Dkts. 685 and 687—are likewise

 dismissed without prejudice and subject to revival in the event of remand from the

 Federal Circuit.

       4. This judgment is intended to be a FINAL JUDGMENT that is appealable to

 the Federal Circuit, and the appeal of which will be subject to reinstatement before the

 Federal Circuit panel as outlined in the Federal Circuit’s dismissal order and mandate

 of July 16, 2024. Dkts. 696 and 697.

       IT IS SO ORDERED AND ADJUDGED

 DATED: ________________

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                                         PAUL G. BYRON
                                         UNITED STATES DISTRICT JUDGE


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